           Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 1 of 34



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 GREENBELT DIVISION

 PATI SPRINGMEYER, an individual and              CASE NO.
 Nevada Resident, on behalf of herself and all
 others similarly situated,                       CLASS ACTION COMPLAINT

                        Plaintiff,                JURY TRIAL DEMANDED
 v.
                                                      (1)   Negligence
                                                      (2)   Negligence Per Se
 MARRIOTT INTERNATIONAL, INC., a
 Montgomery County, Maryland Resident,                (3)   Breach of Contract
                                                      (4)   Breach of Implied Contract
                        Defendant.                    (5)   Breach of Confidence
                                                      (6)   Deceptive & Unfair Trade Practices



       For her Class Action Complaint, Plaintiff Pati Springmeyer, on behalf of herself and all

others similarly situated, allege the following against Defendant Marriott International, Inc.

(“Marriott”), based on personal knowledge as to herself and on information and belief as to all

other matters based upon, inter alia, the investigation conducted by and through Plaintiff’s

counsel:

                                     SUMMARY OF THE CASE

       1.      Marriott is one of the largest hotel chains in the world servicing tens of millions of

customers every year.

       2.      As part of the reservation and booking process for staying at a Marriott property,

Marriott’s guests create, maintain, and update profiles containing significant amounts of personal

identifiable information (“PII”), including their names, birthdates, addresses, locations, email

addresses, and payment card information.

       3.      On March 31, 2020, Marriott announced that the login credentials of two of its

employees had been compromised and “an unexpected amount of guest information” had been



                                               1
                                       Class Action Complaint
         Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 2 of 34



improperly accessed as early as mid-January 2020. The compromised guest PII included: Contact

Details (e.g., name, mailing address, email address, and phone number); Loyalty Account

Information (e.g., account number and points balance, but not passwords); Additional Personal

Details (e.g., company, gender, and birthday day and month); Partnerships and Affiliations (e.g.,

linked airline loyalty programs and numbers); and Preferences (e.g., stay/room preferences and

language preference) (“Data Breach”).

        4.      This Data Breach comes on the heels of another massive breach Marriott announced

in November 2018, wherein the PII of 500 million guests contained in Marriott’s Starwood

reservation database was exposed due to a flaw in its reservation and database systems.

        5.      This Data Breach was a direct result of Marriott’s failure to implement adequate

and reasonable cyber-security procedures and protocols necessary to protect its guests’ PII.

        6.      Marriott disregarded the rights of Plaintiff and Class Members (defined below) by,

inter alia, intentionally, willfully, recklessly, or negligently failing to take adequate and reasonable

measures to ensure their data systems were protected against unauthorized intrusions; failing to

disclose that it did not have adequately robust computer systems and security practices to safeguard

guest PII; failing to take standard and reasonably available steps to prevent the Data Breach; failing

to monitor and timely detect the Data Breach; and failing to provide Plaintiff and Class Members

with prompt and accurate notice of the Data Breach.

        7.      As a result of Marriott’s failure to implement and follow basic security procedures,

guest PII is now in the hands of thieves. Plaintiff and Class Members have had to spend, and will

continue to spend, significant amounts of time and money in an effort to protect themselves from

the adverse ramifications of the Data Breach, and will forever be at a heightened risk of identity

theft and fraud.




                                                 2
                                       Class Action Complaint
           Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 3 of 34



          8.     Plaintiff, on behalf of all others similarly situated, allege claims for negligence,

breach of confidence, and violation of the Maryland’s Consumer Protection Act, and seek to

compel Defendant to adopt reasonably sufficient security practices to safeguard guest PII that

remains in its custody in order to prevent incidents like the Data Breach from reoccurring in the

future.

                                  JURISDICTION AND VENUE

          9.     This Court has jurisdiction over this action pursuant to the Class Action Fairness

Act (“CAFA”), 28 U.S.C. § 1332(d), because the aggregate amount in controversy exceeds

$5,000,000, exclusive of interests and costs, there are more than 100 class members, and at least

one class member is a citizen of a state different from Defendant and is a citizen of a foreign state.

The Court also has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. §

1367.

          10.    Venue is proper under 28 U.S.C. § 1391(c) because Defendant is a corporation that

does business in and is subject to personal jurisdiction in this District. Venue is also proper because

a substantial part of the events or omissions giving rise to the claims in this action occurred in or

emanated from this District, including the decisions made by Marriott’s governance and

management personnel that led to the breach. Further, Marriott’s terms of service governing users

in the United States provides for Maryland venue for all claims arising out of Plaintiff’ relationship

with Marriott.

                                             PARTIES

          11.    Plaintiff Pati Springmeyer is a resident and citizen of Las Vegas, Nevada. Plaintiff

Springmeyer has stayed at a number of Marriott properties and hotels over the past 10 years,

entrusting Marriott with her PII. On March 31, 2020, Ms. Springmeyer received an email from




                                                 3
                                       Class Action Complaint
         Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 4 of 34



Marriott International stating that her PII had been compromised and “accessed without

authorization.”

       12.        Since the announcement of the Data Breach, Ms. Springmeyer continues to monitor

her various accounts in an effort to detect and prevent any misuses of her personal information.

       13.        Ms. Springmeyer has, and continues to spend her valuable time to protect the

integrity of her PII — time which she would not have had to expend but for the Data Breach.

       14.        Ms. Springmeyer suffered actual injury from having her PII exposed as a result of

the Data Breach including, but not limited to: (a) paying monies to Marriott for its services which

she would not have, had Marriott disclosed that it lacked data security practices adequate to

safeguard consumers’ PII from theft; (b) damages to and diminution in the value of her PII—a

form of intangible property that the Plaintiff entrusted to Marriott as a condition for hotel services;

(c) imminent and impending injury arising from the increased risk of fraud and identity theft.

       15.        As a result of the Data Breach, Ms. Springmeyer will continue to be at heightened

risk for fraud and identity theft, and their attendant damages for years to come.

       16.        Defendant Marriott, Inc., is a corporation with its principal executive offices

located at 10400 Fernwood Rd, Bethesda, Maryland 20817.

                                    FACTUAL BACKGROUND

A.     The Marriott 2020 Data Breach

       17.        In February 2020, Marriott learned that the login credentials of two employees at a

franchise property had been compromised a large amount of guest PII had been improperly

accessed. Over a month later, Marriott notified approximately 5.2 million guests that their PII such

as names, addresses, phone numbers, birthdays, loyalty information had been compromised.

Although Marriott said it doesn’t believe that credit card information, passport numbers or driver’s




                                                  4
                                        Class Action Complaint
          Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 5 of 34



license information were accessed, they stated the investigation was ongoing and they did not rule

out the possibility.1

        18.       On March 31, 2020, Marriott sent an email to affected guests and posted an incident

notification on its website stating in relevant part as follows:

                Marriott International: Incident Notification
                This site has information concerning the incident, answers to questions,
         and steps guests can take.


                  March 31, 2020


                  What Happened?

                 Hotels operated and franchised under Marriott’s brands use an application
         to help provide services to guests at hotels. At the end of February 2020, we
         identified that an unexpected amount of guest information may have been
         accessed using the login credentials of two employees at a franchise property. We
         believe this activity started in mid-January 2020. Upon discovery, we confirmed
         that the login credentials were disabled, immediately began an investigation,
         implemented heightened monitoring, and arranged resources to inform and assist
         guests.


                 Although our investigation is ongoing, we currently have no reason to
         believe that the information involved included Marriott Bonvoy account
         passwords or PINs, payment card information, passport information, national IDs,
         or driver’s license numbers.


                At this point, we believe that the following information may have been
         involved, although not all of this information was present for every guest
         involved:

              •   Contact Details (e.g., name, mailing address, email address, and phone
                  number)

              •   Loyalty Account Information (e.g., account number and points balance,
                  but not passwords)

1
 Millions of Guests Impacted in Marriott Data Breach, Again, Threatpost, Mach 31, 2020,
https://threatpost.com/millions-guests-marriott-data-breach-again/154300/


                                                  5
                                        Class Action Complaint
             Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 6 of 34




                 •   Additional Personal Details (e.g., company, gender, and birthday day and
                     month)

                 •   Partnerships and Affiliations (e.g., linked airline loyalty programs and
                     numbers)

                 •   Preferences (e.g., stay/room preferences and language preference)

                     Guest Notification

                   On March 31, 2020, Marriott sent emails about the incident to guests
            involved. The email was sent from marriott@email-marriott.com because this is the
            standard email account used to communicate with our guests.2


B.         Marriott Acquires, Collects, and Stores Plaintiff’s and Class Members’ PII

           19.       Marriott is an American multinational, diversified hospitality company that

manages and franchises a broad portfolio of hotels and related lodging facilities, including 30

brands with more than 7,000 properties across 130 countries and territories globally. Founded in

1927, the company is headquartered in Bethesda, Maryland, and maintains hotel brands including

Marriott, Courtyard, and Ritz-Carlton. Marriott reported revenues of $20.75 billion in the 2018

fiscal year.

           20.       Upon information and belief, Marriott collects, stores, and maintains the PII of all

guests who stay at Marriott properties.

           21.       As a condition of staying at one of its properties, Marriott requires that guests

entrust it with their PII.

           22.       By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ PII, Marriott assumed legal and equitable duties and knew or should have known that

it was responsible for protecting Plaintiff’s and Class Members’ PII from disclosure.


2
    https://mysupport.marriott.com/



                                                     6
                                           Class Action Complaint
         Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 7 of 34



       23.     Plaintiff and the Class Members have taken reasonable steps to maintain the

confidentiality of their PII. Plaintiff and the Class Members relied on Marriott to keep their PII

confidential and securely maintained, to use this information for business purposes only, and to

make only authorized disclosures of this information.

       24.     In Marriott’s Global Privacy Statement dated May 18, 2018, Marriott represents

that: “The Marriott Group, which includes Marriott International, Inc., Starwood Hotels & Resorts

Worldwide, LLC … and their affiliates, values you as our guest and recognizes that privacy is

important to you.” It explains that the Marriott Group collects data:

               •       through websites operated by us from which you are accessing this Privacy

       Statement, including Marriott.com and other websites owned or controlled by the Marriott

       Group (collectively, the “Websites”)

               •       through the software applications made available by us for use on or through

       computers and mobile devices (the “Apps”)

               •       through our social media pages that we control from which you are

       accessing this Privacy Statement (collectively, our “Social Media Pages”)

               •       through HTML-formatted email messages that we send you that link to this

       Privacy Statement and through your communications with us

               •       when you visit or stay as a guest at one of our properties, or through other

       offline interactions.

       25.     The Privacy Statement defines “Collection of Personal Data” as follows: “Personal

Data” are data that identify you as an individual or relate to an identifiable individual. At

touchpoints throughout your guest journey, we collect Personal Data in accordance with law, such

as:




                                                7
                                      Class Action Complaint
          Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 8 of 34



              •   Name

              •   Gender

              •   Postal address

              •   Telephone number

              •   Email address

              •   Credit and debit card number or other payment data

              •   Financial information in limited circumstances

              •   Language preference

              •   Date and place of birth

              •   Nationality, passport, visa or other government-issued identification data

              •   Important dates, such as birthdays, anniversaries and special occasions •

                  Membership or loyalty program data (including co-branded payment cards, travel

                  partner program affiliations)

              •   Employer details

              •   Travel itinerary, tour group or activity data

        26.       Marriott further represents that: “We seek to use reasonable organizational,

technical and administrative measures to protect Personal Data.”

        27.       Knowing the significant value and sensitive nature of the information it collects,

Marriott’s current privacy policy represents that Marriott uses “reasonable physical, electronic,

and administrative safeguards to protect your Personal Data from loss, misuse and unauthorized

access, disclosure, alteration and destruction, taking into account the nature of the Personal Data

and the risks involved in processing that information.”3


3
    Marriott U.S. Privacy Shield Guest Privacy Policy (updated May 24, 2019), available at:


                                                   8
                                         Class Action Complaint
         Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 9 of 34



       28.     Despite collecting and holding “Personal Data” for millions of individuals

worldwide, Marriott failed to adopt reasonable data security measures to prevent and detect

unauthorized access to their highly-sensitive databases. Marriott had the resources to prevent a

breach and has made significant expenditures to market their hotels and hospitality services, but

neglected to adequately invest in data security, despite being engaged in litigation regarding one

of the largest data breaches in history.

C.     The Value of Personally Identifiable Information and the Effects of Unauthorized
       Disclosure

       29.     The types of information compromised in the Data Breach are highly valuable to

identity thieves. The names, email addresses, recovery email accounts, telephone numbers,

payment card information, passport information, and other valuable PII can all be used to gain

access to a variety of existing accounts and websites.

       30.     Identity thieves can also use the PII to harm Plaintiff and Class Members through

embarrassment, blackmail, or harassment in person or online, or to commit other types of fraud

including obtaining ID cards or driver’s licenses, fraudulently obtaining tax returns and refunds,

and obtaining government benefits. A Presidential Report on identity theft from 2008 states that:

       In addition to the losses that result when identity thieves fraudulently open
       accounts or misuse existing accounts, . . . individual victims often suffer indirect
       financial costs, including the costs incurred in both civil litigation initiated by
       creditors and in overcoming the many obstacles they face in obtaining or
       retaining credit. Victims of non-financial identity theft, for example, health-
       related or criminal record fraud, face other types of harm and frustration.

       In addition to out-of-pocket expenses that can reach thousands of dollars for the
       victims of new account identity theft, and the emotional toll identity theft can
       take, some victims have to spend what can be a considerable amount of time to
       repair the damage caused by the identity thieves. Victims of new account
       identity theft, for example, must correct fraudulent information in their credit



https://www.marriott.com/about/global-privacy.mi (last accessed March 31, 2020).


                                                 9
                                       Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 10 of 34



       reports and monitor their reports for future inaccuracies, close existing bank
       accounts and open new ones, and dispute charges with individual creditors.4

       31.     To put it into context, the 2013 Norton Report, based on one of the largest consumer

cybercrime studies ever conducted, estimated that the global price tag of cybercrime was around

$113 billion at that time, with the average cost per victim being $298 dollars.

       32.     The problems associated with identity theft are exacerbated by the fact that many

identity thieves will wait years before attempting to use the PII they have obtained. Indeed, in

order to protect themselves, Class members will need to remain vigilant against unauthorized data

use for years and decades to come.

       33.     Once stolen, PII can be used in a number of different ways. One of the most

common is that it is offered for sale on the “dark web,” a heavily encrypted part of the Internet that

makes it difficult for authorities to detect the location or owners of a website. The dark web is not

indexed by normal search engines such as Google and is only accessible using a Tor browser (or

similar tool), which aims to conceal users’ identities and online activity. The dark web is notorious

for hosting marketplaces selling illegal items such as weapons, drugs, and PII. 5 Websites appear

and disappear quickly, making it a very dynamic environment.

       34.     Once someone buys PII, it is then used to gain access to different areas of the

victim’s digital life, including bank accounts, social media, and credit card details. During that




4
  The President’s Identity Theft Task Force, Combating Identity Theft: A Strategic Plan, Federal
Trade Commission, 11 (April 2007),
https://www.ftc.gov/sites/default/files/documents/reports/presidents-identity-theft-task-force-
report/081021taskforcereport.pdf
5
  Brian Hamrick, The dark web: A trip into the underbelly of the internet, WLWT News (Feb. 9,
2017 8:51 PM), http://www.wlwt.com/article/the-dark-web-a-trip-into-the-underbelly-of-the-
internet/8698419.



                                               10
                                      Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 11 of 34



process, other sensitive data may be harvested from the victim’s accounts, as well as from those

belonging to family, friends, and colleagues.

D.     Marriott Failed to Comply With FTC Requirements

       35.     Federal and State governments have likewise established security standards and

issued recommendations to temper data breaches and the resulting harm to consumers and financial

institutions. The Federal Trade Commission (“FTC”) has issued numerous guides for business

highlighting the importance of reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision-making.6

       36.     In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business, which established guidelines for fundamental data security principles and

practices for business.7 The guidelines note businesses should protect the personal customer

information that they keep; properly dispose of personal information that is no longer needed;

encrypt information stored on computer networks; understand their network’s vulnerabilities; and

implement policies to correct security problems. The guidelines also recommend that businesses

use an intrusion detection system to expose a breach as soon as it occurs; monitor all incoming

traffic for activity indicating someone is attempting to hack the system; watch for large amounts

of data being transmitted from the system; and have a response plan ready in the event of a breach.

       37.     The FTC recommends that companies not maintain cardholder information longer

than is needed for authorization of a transaction; limit access to sensitive data; require complex



6
 Federal Trade Commission, Start With Security, available at
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf
7
 Federal Trade Commission, Protecting Personal Information: A Guide for Business, available at
https://www.ftc.gov/tips-advice/business-center/guidance/protecting-personal-information-guide-
business



                                              11
                                     Class Action Complaint
         Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 12 of 34



passwords to be used on networks; use industry-tested methods for security; monitor for suspicious

activity on the network; and verify that third-party service providers have implemented reasonable

security measures.8

        38.      The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

        39.      Marriott was at all times fully aware of its obligation to protect the personal and

financial data of its guests and customers. Marriott was also aware of the significant repercussions

if it failed to do so.

        40.      Marriott’s failure to employ reasonable and appropriate measures to protect against

unauthorized access to confidential consumer data constitutes an unfair act or practice prohibited

by Section 5 of the FTC Act, 15 U.S.C. § 45.

E.      The Marriott Data Breach Caused Harm and Will Result in Additional Fraud

        41.      The ramifications of Marriott’s failure to keep Plaintiff’s and Class members’ data

secure are severe.

        42.      Consumer victims of data breaches are much more likely to become victim of

identity fraud. This conclusion is based on an analysis of four years of data that correlated each

year’s data breach victims with those who also reported being victims of identity fraud.9



8
 FTC, Start With Security, supra note 5.
9
 2014 LexisNexis True Cost of Fraud Study,
https://www.lexisnexis.com/risk/downloads/assets/true-cost-fraud-2014.pdf.


                                                12
                                       Class Action Complaint
         Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 13 of 34



        43.     The FTC defines identity theft as “a fraud committed or attempted using the

identifying information of another person without authority.”10 The FTC describes “identifying

information” as “any name or number that may be used, alone or in conjunction with any other

information, to identify a specific person.”11

        44.     PII is a valuable commodity to identity thieves once the information has been

compromised. As the FTC recognizes, once identity thieves have personal information, “they can

drain your bank account, run up your credit cards, open new utility accounts, or get medical

treatment on your health insurance.”12

        45.     Identity thieves can use personal information, such as that of Plaintiff and Class

Members, which Marriott failed to keep secure, to perpetrate a variety of crimes that harm victims.

For instance, identity thieves may commit various types of government fraud such as: immigration

fraud; obtaining a driver’s license or identification card in the victim’s name but with another’s

picture; using the victim’s information to obtain government benefits; or filing a fraudulent tax

return using the victim’s information to obtain a fraudulent refund.

        46.     Javelin Strategy and Research reports that identity thieves have stolen $112 billion

in the past six years.13

        47.     Reimbursing a consumer for a financial loss due to fraud does not make that

individual whole again. On the contrary, identity theft victims must spend numerous hours and

their own money repairing the impact to their credit. After conducting a study, the Department of




10
   17 C.F.R § 248.201 (2013).
11
   Id.
12
   Federal Trade Commission, Warning Signs of Identity Theft, available at:
https://www.consumer.ftc.gov/articles/0271-warning-signs-identity-theft.
13
   https://www.javelinstrategy.com/coverage-area/2016-identity-fraud-fraud-hits-inflection-point



                                               13
                                      Class Action Complaint
           Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 14 of 34



Justice’s Bureau of Justice Statistics (“BJS”) found that identity theft victims “reported spending

an average of about 7 hours clearing up the issues” and resolving the consequences of fraud in

2014.14

          48.    An independent financial services industry research study conducted for

BillGuard—a private enterprise that automates the consumer task of finding unauthorized

transactions that might otherwise go undetected—calculated the average per-consumer cost of all

unauthorized transactions at roughly US $215 per cardholder incurring these charges,15 some

portion of which could go undetected and thus must be paid entirely out-of-pocket by consumer

victims of account or identity misuse.

          49.    There may be a time lag between when harm occurs versus when it is discovered,

and also between when PII is stolen and when it is used. According to the U.S. Government

Accountability Office (“GAO”), which conducted a study regarding data breaches:

          [L]aw enforcement officials told us that in some cases, stolen data may be held
          for up to a year or more before being used to commit identity theft. Further, once
          stolen data have been sold or posted on the Web, fraudulent use of that
          information may continue for years. As a result, studies that attempt to measure
          the harm resulting from data breaches cannot necessarily rule out all future
          harm.16

          50.    Thus, Plaintiff and Class members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights.




14
   Victims of Identity Theft, 2014 (Sept. 2015) available at:
http://www.bjs.gov/content/pub/pdf/vit14.pdf.
15
   Hadley Malcom, Consumers rack up $14.3 billion in gray charges, research study
commissioned for Billguard by Aite Research, USA Today (July 25, 2013), available at:
https://www.usatoday.com/story/money/personalfinance/2013/07/25/consumers-unwanted-
charges-in-billions/2568645/.
16
   GAO, Report to Congressional Requesters, at 29 (June 2007),
http://www.gao.gov/new.items/d07737.pdf


                                                14
                                       Class Action Complaint
         Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 15 of 34



F.     Plaintiff and Class Members Suffered Damages

       51.     The PII of Plaintiff and Class Members is private and sensitive in nature and was

left inadequately protected by Marriott. Marriott did not obtain Plaintiff’s and Class members’

consent to disclose their PII to any other person as required by applicable law and industry

standards.

       52.     The Data Breach was a direct and proximate result of Marriott’s failure to properly

safeguard and protect Plaintiff’s and Class members’ PII from unauthorized access, use, and

disclosure, as required by various state and federal regulations, industry practices, and the common

law, including Marriott’s failure to establish and implement appropriate administrative, technical,

and physical safeguards to ensure the security and confidentiality of Plaintiff’s and Class members’

PII to protect against reasonably foreseeable threats to the security or integrity of such information.

       53.     Marriott had the resources to prevent a breach. Marriott made significant

expenditures to market its hotels and hospitality services, but neglected to adequately invest in

data security, despite the growing number of data intrusions and several years of well-publicized

data breaches, including its own massive breach a little over a year ago.

       54.     Had Marriott remedied the deficiencies in its information storage and security

systems, followed industry guidelines, and adopted security measures recommended by experts in

the field, Marriott would have prevented intrusion into its information storage and security systems

and, ultimately, the theft of its customers’ confidential PII.

       55.     As a direct and proximate result of Marriott’s wrongful actions and inaction and

the resulting Data Breach, Plaintiff and Class members have been placed at an imminent,

immediate, and continuing increased risk of harm from identity theft and identity fraud, requiring

them to take the time which they otherwise would have dedicated to other life demands such as




                                                15
                                       Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 16 of 34



work and family in an effort to mitigate the actual and potential impact of the Data Breach on their

lives including, inter alia, by placing “freezes” and “alerts” with credit reporting agencies,

contacting their financial institutions, closing or modifying financial accounts, closely reviewing

and monitoring their credit reports and accounts for unauthorized activity, and filing police reports.

This time has been lost forever and cannot be recaptured.

       56.       Marriott’s wrongful actions and inaction directly and proximately caused the theft

and dissemination into the public domain of Plaintiff’s and Class members’ PII, causing them to

suffer, and continue to suffer, economic damages and other actual harm for which they are entitled

to compensation, including:

       a. theft of their personal and financial information;

       b. the imminent and certainly impending injury flowing from potential fraud and identity

             theft;

       c. the untimely and inadequate notification of the Data Breach;

       d. the improper disclosure of their PII;

       e. loss of privacy;

       f. ascertainable losses in the form of out-of-pocket expenses and the value of their time

             reasonably incurred to remedy or mitigate the effects of the Data Breach;

       g. ascertainable losses in the form of deprivation of the value of their PII, for which there

             is a well-established national and international market;

       h. the loss of productivity and value of their time spent to address, attempt to ameliorate,

             mitigate, and deal with the actual and future consequences of the Data Breach.

       57.       While Plaintiff’ and Class members’ PII have been compromised, Marriott

continues to hold consumers’ PII, including Plaintiff and Class members. Particularly because




                                                16
                                       Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 17 of 34



Marriott has demonstrated an inability to prevent a breach or stop it from continuing even after

being detected, Plaintiff and Class members have an undeniable interest in ensuring that their PII

is secure, remains secure, is properly and promptly destroyed, and is not subject to further theft.

G.     Marriott’s Offer of Credit Monitoring is Inadequate

       58.     At present, Marriott has offered one year of free enrollment in Experian’s

IdentityWorks, a credit monitoring service.

       59.     As previously alleged, consumers’ PII may exist on the Dark Web for months, or

even years, before it is used for ill gains and actions. With only one year of monitoring, and no

form of insurance or other protection, Plaintiff and Class Members remain unprotected from the

real and long-term threats against their PII.

       60.     Therefore, the “monitoring” services are inadequate, and Plaintiff and Class

Members have a real and cognizable interest in obtaining equitable relief, in addition to the

monetary relief requested herein.

       61.     Marriott’s response to the Data Breach, and the services it offered to consumers to

address the breach, are insufficient, resulting in consumers spending a significant amount of time

taking measures to protect themselves. Thus, Marriott cannot be heard to complain about

customers taking its advice and suggestions for how to respond in the face of this latest Data

Breach to be suffered by Marriott customers.




                                               17
                                      Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 18 of 34



                              CLASS ACTION ALLEGATIONS

       62.     Pursuant to Fed. R. Civ. P. 23(b)(2), (b)(3) and (c)(4), Plaintiff, individually and on

behalf of all others similarly situated, brings this lawsuit on behalf of themselves and as a class

action on behalf of the following class:

               All persons in the United States who provided PII to Marriott and whose
               PII was accessed, compromised, or stolen from Marriott in the Data
               Breach announced on March 31, 2020.

       63.     Excluded from the Class are Defendant and any entities in which any Defendant or

its subsidiaries or affiliates have a controlling interest, and Defendant’s officers, agents, and

employees. Also excluded from the Class are the judge assigned to this action, members of the

judge’s staff, and any member of the judge’s immediate family.

       64.     Numerosity: The members of each Class are so numerous that joinder of all

members of any Class would be impracticable. The Class consists of approximately 5.2 million

Marriott customers. The names and addresses of Class members are identifiable through

documents maintained by Defendant.

       65.     Commonality and Predominance: This action involves common questions of law

or fact, which predominate over any questions affecting individual Class members, including:

               i.   Whether Defendant represented to the Class that it would safeguard Class

                    members’ PII;

              ii.   Whether Defendant owed a legal duty to Plaintiff and the Class to exercise due

                    care in collecting, storing, and safeguarding their PII;

             iii.   Whether Defendant breached a legal duty to Plaintiff and the Class to exercise

                    due care in collecting, storing, and safeguarding their PII;

             iv.    Whether Class members’ PII was accessed, compromised, or stolen in the Data

                    Breach;




                                               18
                                      Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 19 of 34




               v.    Whether Defendant knew or should have known that its computer data systems

                     were vulnerable to attack;

              vi.    Whether Defendant knew about the Data Breach before it was announced to

                     the public and Defendant failed to timely notify the public of the Data Breach;

             vii.    Whether Defendant’s conduct violated § 5 of the Federal Trade Commission

                     Act, 15 U.S.C. § 45, et seq.,

             viii.   Whether Plaintiff and the Class are entitled to equitable relief, including, but

                     not limited to, injunctive relief and restitution; and

              ix.    Whether Plaintiff and the other Class members are entitled to actual, statutory,

                     or other forms of damages, and other monetary relief.

       66.      Similar or identical statutory and common law violations, business practices, and

injuries are involved. Individual questions, if any, pale by comparison, in both quantity and quality,

to the numerous common questions that dominate this action.

       67.      Typicality: Plaintiff’s claims are typical of the claims of the other members of their

respective classes because, among other things, Plaintiff and the other Class members were injured

through the substantially uniform misconduct by Defendant. Plaintiff is advancing the same claims

and legal theories on behalf of herself and all other Class members, and there are no defenses that

are unique to Plaintiff. Plaintiff’s claims and those of other Class members arise from the same

operative facts and are based on the same legal theories.

       68.      Adequacy of Representation: Plaintiff is an adequate representative of the class

because her interests do not conflict with the interests of the other Class members she seeks to

represent; she has retained counsel competent and experienced in complex class action litigation

and Plaintiff will prosecute this action vigorously. The Class members’ interests will be fairly and

adequately protected by Plaintiff and her counsel.




                                                19
                                       Class Action Complaint
         Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 20 of 34



       69.     Superiority: A class action is superior to any other available means for the fair and

efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered

in the management of this matter as a class action. The damages, harm, or other financial detriment

suffered individually by Plaintiff and the other members of their respective classes are relatively

small compared to the burden and expense that would be required to litigate their claims on an

individual basis against Defendant, making it impracticable for Class members to individually seek

redress for Defendant’s wrongful conduct. Even if Class members could afford individual

litigation, the court system could not. Individualized litigation would create a potential for

inconsistent or contradictory judgments, and increase the delay and expense to all parties and the

court system. By contrast, the class action device presents far fewer management difficulties and

provides the benefits of single adjudication, economies of scale, and comprehensive supervision

by a single court.

       70.     Further, Defendant has acted or refused to act on grounds generally applicable to

the Class and, accordingly, final injunctive or corresponding declaratory relief with regard to the

members of the Class as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil

Procedure.

       71.     Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

       a.      Whether Class members’ PII was accessed, compromised, or stolen in the Data

               Breach;




                                               20
                                      Class Action Complaint
 Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 21 of 34



b.   Whether (and when) Defendant knew about any security vulnerabilities that led to

     the Data Breach before it was announced to the public and whether Defendant failed

     to timely notify the public of those vulnerabilities and the Data Breach;

c.   Whether Defendant’s representations that it would secure and protect the PII of

     Plaintiff and members of the classes were facts that reasonable persons could be

     expected to rely upon when deciding whether to use Defendant’s services;

d.   Whether Defendant misrepresented the safety of its many systems and services,

     specifically the security thereof, and its ability to safely store Plaintiff’s and Class

     members’ PII;

e.   Whether Defendant concealed crucial information about its inadequate data

     security measures from Plaintiff and the Class;

f.   Whether Defendant failed to comply with its own policies and applicable laws,

     regulations, and industry standards relating to data security;

g.   Whether Defendant knew or should have known that it did not employ reasonable

     measures to keep Plaintiff’s and Class members’ PII secure and prevent the loss or

     misuse of that information;

h.   Whether Defendant failed to “implement and maintain reasonable security

     procedures and practices” for Plaintiff’s and Class members’ PII in violation of

     Section 5 of the FTC Act;

i.   Whether Defendant failed to provide timely notice of the Data Breach in violation

     of state consumer protection laws, including Md. Code Com. Law § 14-3501, et

     seq.;




                                     21
                            Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 22 of 34



       j.      Whether Defendant owed a duty to Plaintiff and the Class to safeguard their PII and

               to implement adequate data security measures;

       k.      Whether Defendant breached that duty;

       l.      Whether such representations were false with regard to storing and safeguarding

               Plaintiff’s and Class members’ PII; and

       m.      Whether such representations were material with regard to storing and safeguarding

               Class members’ PII.

                   CLAIMS ALLEGED ON BEHALF OF ALL CLASSES

                                     First Claim for Relief
                                           Negligence

       72.     Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 71 as though fully stated herein.

       73.     Defendant owed a duty to Plaintiff and the Class to exercise reasonable care in

safeguarding and protecting their PII and keeping it from being compromised, lost, stolen,

misused, and or/disclosed to unauthorized parties. More specifically, this duty included, among

other things: (a) designing, maintaining, and testing Marriott’s security systems to ensure that

Plaintiff’s and class members’ PII in Marriott’s possession was adequately secured and protected;

(b) implementing processes that would detect a breach of its security system in a timely manner;

(c) timely acting upon warnings and alerts, including those generated by its own security systems,

regarding intrusions to its networks; and (d) maintaining data security measures consistent with

industry standards.

       74.     Defendant knew that the PII belonging to Plaintiff and the Class was personal and

sensitive information that is valuable to identity thieves and other criminals. Defendant also knew

of the serious harms that could happen if the PII of Plaintiff and the Class was wrongfully



                                              22
                                     Class Action Complaint
           Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 23 of 34



disclosed, that disclosure was not fixed, or Plaintiff and the Class were not told about the disclosure

in a timely manner.

       75.     By being entrusted by Plaintiff and the Class to safeguard their PII, Defendant had

a special relationship with Plaintiff and the Class. Plaintiff and the Class signed up for and paid

for Defendant’s services and agreed to provide their PII with the understanding that Defendant

would take appropriate measures to protect it, and would inform Plaintiff and the Class of any

breaches or other security concerns that might call for action by Plaintiff and the Class. Defendant

did not.

       76.     Marriott had a common law duty to prevent foreseeable harm to its customers. This

duty existed because Plaintiff and class members were the foreseeable and probable victims of any

inadequate security practices. In fact, not only was it foreseeable that Plaintiff and class members

would be harmed by the failure to protect their PII because hackers routinely attempt to steal such

information and use it for nefarious purposes, Marriott knew that it was more likely than not

Plaintiff and other class members would be harmed.

       77.     Defendant is morally culpable, given the prominence of security breaches in the

hospitality industry and its own recent massive breach which demonstrated Defendant’s wholly

inadequate cyber security measures and safeguards.

       78.     Defendant breached its duty to exercise reasonable care in safeguarding and

protecting Plaintiff’s and the Class members’ PII by failing to adopt, implement, and maintain

adequate security measures to safeguard that information, despite repeated failures and intrusions,

and allowing unauthorized access to Plaintiff’s and the other Class member’s PII.

       79.     Marriott breached the duties it owed to Plaintiff and class members described above

and thus was negligent. Marriott breached these duties by, among other things, failing to: (a)




                                                23
                                       Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 24 of 34



exercise reasonable care and implement adequate security systems, protocols and practices

sufficient to protect the PII of Plaintiff and class members; (b) detect the breach while it was

ongoing; (c) maintain security systems consistent with industry standards; and (d) disclose in a

timely fashion that Plaintiff’s and the class members’ PII in Marriott’s possession had been or was

reasonably believed to have been, stolen or compromised.

       80.     Defendant’s failure to comply with industry and federal regulations further

evidences Defendant’s negligence in failing to exercise reasonable care in safeguarding and

protecting Plaintiff’s and the Class members’ PII.

       81.     Defendant’s breaches of these duties were not merely isolated incidents or small

mishaps. Rather, the breaches of the duties set forth above resulted from a long-term company-

wide refusal by Defendant to acknowledge and correct serious and ongoing data security problems.

       82.     But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and the Class, their PII would not have been compromised, stolen, and viewed by unauthorized

persons. Defendant’s negligence was a direct and legal cause of the theft of the PII of Plaintiff and

the Class and all resulting damages.

       83.     Marriott also had a duty to safeguard the PII of Plaintiff and class members and to

promptly notify them of a breach because of laws and regulations that require Marriott to

reasonably safeguard PII, as detailed herein.

       84.     Timely notification was required, appropriate, and necessary so that, among other

things, Plaintiff and class members could take appropriate measures to freeze or lock their credit

profiles, cancel current passports and obtain new passports, avoid unauthorized charges to their

credit or debit card accounts, cancel or change usernames and passwords on compromised

accounts, monitor their account information and credit reports for fraudulent activity, contact their




                                                24
                                       Class Action Complaint
         Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 25 of 34



banks or other financial institutions that issue their credit or debit cards, obtain credit monitoring

services, and take other steps to mitigate or ameliorate the damages caused by Marriott’s

misconduct.

        85.        The injury and harm suffered by Plaintiff and the Class members was the

reasonably foreseeable result of Defendant’s failure to exercise reasonable care in safeguarding

and protecting Plaintiff’s and the other class members’ PII. Defendant knew its systems and

technologies for processing and securing the PII of Plaintiff and the Class had numerous security

vulnerabilities.

        86.        As a result of this misconduct by Defendant, the PII of Plaintiff and the Class were

compromised, placing them at a greater risk of identity theft and subjecting them to identity theft,

and their PII was disclosed to third parties without their consent. Plaintiff and Class members also

suffered diminution in value of their PII in that it is now easily available to hackers on the dark

web. Plaintiff and the Class have also suffered consequential out of pocket losses for procuring

credit freeze or protection services, identity theft monitoring, and other expenses relating to

identity theft losses or protective measures.

                                        Second Claim for Relief
                                           Negligence Per Se

        87.        Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 71 as though fully stated herein.

        88.        Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce,”

including, as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as

Marriott, of failing to use reasonable measures to protect PII. The FTC publications and orders

described above also form part of the basis of Marriott’s duty in this regard.




                                                  25
                                         Class Action Complaint
         Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 26 of 34



       89.     Marriott violated Section 5 of the FTC Act by failing to use reasonable measures

to protect PII and not complying with applicable industry standards, as described in detail herein.

Marriott’s conduct was particularly unreasonable given the nature and amount of PII it obtained

and stored and the foreseeable consequences of a data breach at a hospitality chain as large as

Marriott, including, specifically, the immense damages that would result to Plaintiff and Class

Members.

       90.     Marriott’s violation of Section 5 of the FTC Act constitutes negligence per se.

       91.     Plaintiff and Class members are within the class of persons that the FTC Act was

intended to protect.

       92.     The harm that occurred as a result of the Data Breach is the type of harm the FTC

Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

which, as a result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Class.

       93.     As a direct and proximate result of Marriott’s negligence per se, Plaintiff and the

Class have suffered, and continue to suffer, injuries and damages arising from identity theft;

damages from lost time and effort to mitigate the actual and potential impact of the Data Breach

on their lives, including, inter alia, by placing “freezes” and “alerts” with credit reporting agencies,

contacting their financial institutions, closing or modifying financial accounts, closely reviewing

and monitoring their credit reports and accounts for unauthorized activity, and filing police reports,

and damages from identity theft, which may take months if not years to discover and detect, given

the far-reaching, adverse and detrimental consequences of identity theft and loss of privacy.

       94.     Additionally, as a direct and proximate result of Marriot’s negligence per se,

Plaintiff and Class members have suffered and will suffer the continued risks of exposure of their




                                                26
                                       Class Action Complaint
         Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 27 of 34



PII, which remain in Marriott’s possession and is subject to further unauthorized disclosures so

long as Marriott fails to undertake appropriate and adequate measures to protect the PII in its

continued possession.

                                          Third Claim for Relief
                                           Breach of Contract

       95.     Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 71 as though fully stated herein.

       96.     At all times during Plaintiff’s and Class Members’ interactions with Defendant,

Defendant was fully aware of the confidential and sensitive nature of Plaintiff’s and Class

Members’ PII that Plaintiff and Class Members provided to Defendant.

       97.     Marriott’s Privacy Statement is an agreement between Marriott and individuals

who provided their PII to Marriott, including Plaintiff and Class Members

       98.     Marriott’s Privacy Statement states that individuals are subject to its terms and

conditions when they perform any of the following acts: (1) log onto Marriott’s website; (2) use

Marriott’s software applications; (3) access Marriott’s social media pages; (4) receive e-mail

communications from Marriott that link to the Privacy Statement; and (5) “when you visit or stay

as a guest at one of our properties, or through other offline interactions.” Marriott’s Privacy

Statement provides that: “Collectively, we refer to the Websites, the Apps and our Social Media

Pages, as the ‘Online Services’ and, together with offline channels, the ‘Services.’ By using the

Services, you agree to the terms and conditions of this Privacy Statement.” (emphasis added).

       99.     Likewise, the terms and conditions governing the Marriott Rewards Program state

that: “By opening a Membership Rewards Program account … You consent to the Company’s

processing of data that is personal to You, and disclosure of such data to third parties, in accordance

with the Company’s privacy statement.”



                                                27
                                       Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 28 of 34



       100.      Plaintiff and class members provided their PII to Marriott when they, among other

things, used Marriott’s services, enrolled in Marriott’s Reward Program, purchased products and

services from Marriott, and/or booked reservations at a Marriott Property via offline and online

channels. Consequently, Plaintiff and Class Members who transacted with Marriott manifested

their willingness to enter into a bargain with Marriott and intention to assent to the terms of the

Privacy Statement by providing their PII to Marriott.

       101.      Conversely, Marriott, in collecting Plaintiff’s and class members’ PII, manifested

its intent to adhere to its obligations under the Privacy Statement, including using “reasonable

organizational, technical and administrative measures to protect [its customers’] Personal Data.”

       102.      Plaintiff and class members on the one hand and Marriott on the other formed

contracts when Plaintiff and class members provided PII to Marriott subject to their Privacy

Statement.

       103.      Plaintiff and Class Members fully performed their obligations under the contracts

with Marriott.

       104.      Marriott breached its agreements with Plaintiff and Class Members by failing to

protect their PII. Specifically, Marriott (1) failed to use reasonable organizational, technical,

procedural, and administrative measures to protect that information; and (2) disclosed that

information to unauthorized third parties, in violation of their agreements.

       105.      As a direct and proximate result of these breaches of contract, Plaintiff and class

members sustained actual losses and damages as described in detail above, including that they did

not get the benefit of the bargain for which they paid.




                                                28
                                       Class Action Complaint
           Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 29 of 34



                                      Fourth Claim for Relief
                                     Breach of Implied Contract

           106.   Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 71 as though fully stated herein.

           107.   Plaintiff and Class Members also entered into an implied contract with Marriott

when they obtained services from Marriott, or otherwise provided PII to Marriott.

           108.   As part of these transactions, Marriott agreed to safeguard and protect the PII of

Plaintiff and Class Members and to timely and accurately notify them if their PII was breached or

compromised.

           109.   Plaintiff and Class Members entered into the implied contracts with the reasonable

expectation that Marriott’s data security practices and policies were reasonable and consistent with

industry standards. Plaintiff and Class Members believed that Marriott would use part of the

monies paid to Marriott under the implied contracts to fund adequate and reasonable data security

practices.

           110.   Plaintiff and Class Members would not have provided and entrusted their PII to

Marriott or would have paid less for Marriott’s services in the absence of the implied contract or

implied terms between them and Marriott. The safeguarding of the PII of Plaintiff and Class

Members and prompt and sufficient notification of a breach was critical to realize the intent of the

parties.

           111.   Plaintiff and Class Members fully performed their obligations under the implied

contracts with Marriott.

           112.   Marriott breached its implied contracts with Plaintiff and Class Members to protect

their PII when it (1) failed to have security protocols and measures in place to protect that




                                                 29
                                        Class Action Complaint
           Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 30 of 34



information; (2) disclosed that information to unauthorized third parties; and (3) failed to provide

timely and accurate notice that their PII was compromised as a result of the data breach.

           113.   As a direct and proximate result of Marriott’s breaches of implied contract, Plaintiff

and Class Members sustained actual losses and damages as described in detail above, including

that they did not get the benefit of the bargain for which they paid

                                         Fifth Claim for Relief
                                         Breach of Confidence


           114.   Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 71 as though fully stated herein.

           115.   At all times during Plaintiff’s and Class Members’ interactions with Defendant,

Defendant was fully aware of the confidential and sensitive nature of Plaintiff’s and Class

Members’ PII that Plaintiff and Class Members provided to Defendant.

           116.   As alleged herein and above, Defendant’s relationship with Plaintiff and Class

Members was governed by expectations that Plaintiff’s and Class Members’ PII would be

collected, stored, and protected in confidence, and would not be disclosed to unauthorized third

parties.

           117.   Plaintiff and Class Members provided their respective PII to Defendant with the

explicit and implicit understandings that Defendant would protect and not permit the PII to be

disseminated to any unauthorized parties.

           118.   Plaintiff and Class Members also provided their respective PII to Defendant with

the explicit and implicit understanding that Defendant would take precautions to protect that PII

from unauthorized disclosure, such as following basic principles of information security practices.




                                                 30
                                        Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 31 of 34



       119.    Defendant voluntarily received in confidence Plaintiff’s and Class Members’ PII

with the understanding that the PII would not be disclosed or disseminated to the public or any

unauthorized third parties.

       120.    Due to Defendant’s failure to prevent, detect, and/or avoid the Data Breach from

occurring by, inter alia, failing to follow best information security practices to secure Plaintiff’s

and Class Members’ PII, Plaintiff’s and Class Members’ Customer Data was disclosed and

misappropriated to unauthorized third parties beyond Plaintiff’s and Class Members’ confidence,

and without their express permission.

       121.    As a direct and proximate cause of Defendant’s actions and/or omissions, Plaintiff

and Class Members have suffered damages.

       122.    But for Defendant’s disclosure of Plaintiff’s and Class Members’ PII in violation

of the parties’ understanding of confidence, their PII would not have been compromised, stolen,

viewed, accessed, and used by unauthorized third parties. Defendant’s Data Breach was the direct

and legal cause of the theft of Plaintiff’s and Class Members’ PII, as well as the resulting damages.

       123.    The injury and harm Plaintiff and Class Members suffered was the reasonably

foreseeable result of Defendant’s unauthorized disclosure of Plaintiff’s and Class Members’ PII.

Defendant knew its computer systems and cyber security practices for accepting and securing

Plaintiff’s and Class Members’ PII had numerous security vulnerabilities because Defendant failed

to observe industry standard information security practices.

       124.    As a direct and proximate result of Defendant’s breaches of confidence, Plaintiff

and the Class have suffered, and continue to suffer, injuries and damages arising from identity

theft; damages from lost time and effort to mitigate the actual and potential impact of the Data

Breach on their lives, including, inter alia, by placing “freezes” and “alerts” with credit reporting




                                               31
                                      Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 32 of 34



agencies, contacting their financial institutions, closing or modifying financial accounts, closely

reviewing and monitoring their credit reports and accounts for unauthorized activity, and filing

police reports, and damages from identity theft, which may take months if not years to discover

and detect, given the far-reaching, adverse and detrimental consequences of identity theft and loss

of privacy.

       125.    As a direct and proximate result of Defendant’s breaches of confidence, Plaintiff

and Class Members have suffered and will continue to suffer other forms of injury and/or harm,

including, but not limited to, anxiety, emotional distress, loss of privacy, and other economic and

non-economic losses.

                                      Sixth Claim for Relief
                       Violation of Maryland’s Consumer Protection Act
                             Deceptive and Unfair Trade Practices
                                 Title 13, Section 13-101, et seq.

       126.    Plaintiff repeats, realleges, and incorporates by reference the allegations contained

in paragraphs 1 through 71 as though fully stated herein.

       127.    Plaintiff and Class members are consumers for the purposes of Maryland’s

Consumer Protection Act.

       128.    Defendant is merchant for the purposes of Maryland’s Consumer Protection Act.

       129.    Defendant, by failing to inform consumers (including Plaintiff and the Class

Members) of Defendant’s insufficient cyber security practices, advertised, sold, serviced, and

otherwise induced those consumers (including Plaintiff and Class Members) to purchase goods

and services from Defendant.

       130.    By failing to inform consumers (including Plaintiff and the Class Members) of its

deficient cyber security practices, Defendant falsely represented the security of its data and




                                              32
                                     Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 33 of 34



information security practices to safeguard the PII Defendant collected from its guests (including

Plaintiff and the Class Members).

       131.    Defendant’s failures constitute false, misleading, and misrepresentations, which

have the capacity, tendency, and effect of deceiving or misleading consumers (including Plaintiff

and Class Members) concerning the security of their networks and aggregation of PII.

       132.    In addition, the facts upon which consumers (including Plaintiff and Class

Members) relied were material facts, the veracity of which were not true (e.g., protection of PII),

and consumers (including Plaintiff and Class Members) relied on those false facts to their

detriment.

       133.    Defendant employed these false representations to promote the sale of a consumer

good or service, which Plaintiff and the Class Members purchased.

       134.    As a direct and proximate result of Defendant’s actions, Plaintiff and Class

Members have suffered and will continue to suffer injury, loss of privacy, and other economic and

non-economic losses.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the other Class members,

respectfully request this Court enter an Order:

                   a. An Order certifying this case as a class action;

                   b. An Order appointing Plaintiff as the class representative;

                   c. An Order appointing undersigned counsel as class counsel;

                   d. A mandatory injunction directing the Defendants to hereinafter adequately

                       safeguard the PII of the Class by implementing improved security

                       procedures and measures;

                   e. An award of damages;



                                              33
                                     Class Action Complaint
        Case 8:20-cv-00867-PWG Document 1 Filed 04/01/20 Page 34 of 34




                  f. An award of costs and expenses;

                  g. An award of attorneys’ fees; and

                  h. Such other and further relief as this court may deem just and proper.


                                  JURY TRIAL DEMANDED

       Plaintiff demands a trial by jury of all claims so triable.

Dated: April 1, 2020
                                                        /s/ William H. Murphy III
                                                        William H. Murphy III, Esq.

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                                               34
                                      Class Action Complaint
